     Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 1 of 16




                    EXHIBIT 3

        Receivership Order




04465501.1
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 2 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 3 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 4 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 5 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 6 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 7 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 8 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 9 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 10 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 11 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 12 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 13 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 14 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 15 of 16
Case 4:18-mc-03286 Document 1-3 Filed in TXSD on 11/19/18 Page 16 of 16
